                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                       WESTERN DISTRICT OF MISSOURI
                                             WESTERN DIVISION

UNITED STATES OF AMERICA

-vs-                                                                   Case No.: 14-00029-09-CR-W-GAF

DAWAWN ORR
                                                                       USM Number: 26754-045

                                                                       Susan M. Hunt, CJA



                                               JUDGMENT IN A CRIMINAL CASE

        The defendant pleaded guilty to Count 1 of the Superseding Indictment on 04/27/2015. Accordingly, the court has
adjudicated that the defendant is guilty of the following offense(s):

                                                                                              Date Offense       Count
   Title & Section                                     Nature of Offense                       Concluded       Number(s)

21 U.S.C. §§ 841(a),          Conspiracy to Distribute Cocaine (Lesser-Included Offense)         03/19/14           1
(b)(1)(C) and 846

       The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

         Count(s) 32 dismissed on the motion of the United States.

        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                       Date of Imposition of Sentence: October 21, 2015



                                                                       /s/ Gary A. Fenner
                                                                       GARY A. FENNER
                                                                       UNITED STATES DISTRICT JUDGE

                                                                       October 21, 2015




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                                                       IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 84 months.


       The Court recommends to the Bureau of Prisons that the defendant be considered for designation as close to
Kansas City as possible and for placement in the 500-hour residential drug abuse program (RDAP).


         The defendant is remanded to the custody of the United States Marshal.




                                                          RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 ______________________________________
                                                                                UNITED STATES MARSHAL


                                                                   By:__________________________________
                                                                                       Deputy U.S. Marshal




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                                                       SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours
of release from custody of the Bureau of Prisons.

         The defendant shall not commit another federal, state or local crime.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment
and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

         If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer in a manner and frequency directed by the court or probation
    officer;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
    officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
    training, or other acceptable reasons;

6. The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or
    employment;

7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
    administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
    by a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
    administered;

9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
    person convicted of a felony, unless granted permission to do so by the probation officer;

10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view by the probation officer;

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11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
    law enforcement officer;

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
    agency without the permission of the court;

13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
    notifications and to confirm the defendant's compliance with such notification requirement.

                             ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised release:

1. The defendant shall successfully participate in any substance abuse counseling program, which may include
    urinalysis, sweat patch, or Breathalyzer testing, as approved by the Probation Office and pay any associated costs as
    directed by the Probation Office.

2. The defendant shall submit his person and any property, house, residence, office, vehicle, papers, computer, other
    electronic communication or data storage devices or media and effects to a search, conducted by a U.S. Probation
    Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
    evidence of a violation of a condition of release; failure to submit to a search may be grounds for revocation; the
    defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition.

3. The defendant shall not consume or possess alcoholic beverages or beer, including 3.2 percent beer, at any time, and
    shall not be present in any establishment where alcoholic beverages are the primary items for sale.

4. The defendant shall satisfy any warrants/pending charges within the first 60 days of supervised release.

5. The defendant shall comply with the Western District of Missouri Offender Employment Guideline which may include
    participation in training, counseling, and/or daily job searching as directed by the probation officer. If not in compliance
    with the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be required
    to perform up to 20 hours of community service per week until employed, as approved or directed by the probation
    officer.

                                         ACKNOWLEDGMENT OF CONDITIONS

I have read or have read the conditions of supervision set forth in this judgment and I fully understand
them. I have been provided a copy of them.

I understand that upon finding of a violation of probation or supervised release, the Court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.


_______________________________________                            ____________________
Defendant                                                             Date

________________________________________                           ____________________
United States Probation Officer                                     Date


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                                             CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties under the schedule of payments set forth in the
Schedule of Payments.

           Total Assessment                                      Total Fine                                  Total Restitution

                 $100.00                                           Waived                                               $0

          Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for
offenses committed on or after September 13, 1994 but before April 23, 1996.




                                                   SCHEDULE OF PAYMENTS

           Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as
follows:

                   Lump sum payment of $100.00 due immediately.

       Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court. The
Defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




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